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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 )
     In re:                                                      )    Chapter 11
                                                                 )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )    Case No. 19-34054-sgj11
                                                                 )
                                     Reorganized Debtor.         )
                                                                 )

     HIGHLAND CAPITAL MANAGEMENT, L.P.’S MOTION TO (A) STRIKE LETTERS
         ATTACHED TO APPENDIX IN SUPPORT OF THE DONDERO PARTIES’
           SUPPLEMENTAL RECUSAL MOTION [DOCKET NO. 3406], OR, (B)
            ALTERNATIVELY, TO COMPEL THE LAWYERS’ DEPOSITIONS




 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
 service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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          Highland Capital Management, L.P. (“Highland” or, as applicable, the “Debtor”), the

 reorganized debtor in the above-captioned chapter 11 case (the “Bankruptcy Case”), by and

 through its undersigned counsel, hereby files this motion (the “Motion”) for entry of an order,

 substantially in the form annexed as Exhibit A hereto, striking the Letters 2 attached to the

 Appendix to James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint

 Advisors, L.P., The Dugaboy Investment Trust, Get Good Trust, and NexPoint Real Estate

 Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware Limited Liability Company’s Motion for

 Final Appealable Order and Supplement to Motion to Recuse Pursuant to 28 U.S.C. § 455 and

 Brief in Support [Docket No. 3406-1] (the “Appendix”) filed by James Dondero, Highland Capital

 Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy Investment Trust, Get

 Good Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners, LLC (collectively, the

 “Dondero Parties”) in support of their Motion for Final Appealable Order and Supplement to

 Motion to Recuse Pursuant to 28 U.S.C. § 455 and Brief in Support [Docket No. 3406] (the

 “Supplemental Motion”) or, alternatively, compelling the depositions of the authors of the Letters.

          The Motion is made pursuant to Rule 12 of the Federal Rules of Civil Procedure (“Rule

 12”), made applicable herein pursuant to Federal Rule of Bankruptcy Procedure 7012, and Rules

 401, 402, 403, and 802 of the Federal Rules of Evidence (“Fed. R. Evid.”). In support of the

 Motion, Highland respectfully represents as follows.

                                       PRELIMINARY STATEMENT

          1.       The Letters included in the Dondero Parties’ Appendix should be stricken from the

 appellate record because (i) they are irrelevant; (ii) they constitute inadmissible hearsay; and (iii)




 2
   All capitalized terms used but not defined in these introductory paragraphs and the Preliminary Statement shall have
 the meanings ascribed to them below.


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 their inclusion in the record would cause unfair prejudice to Highland and confuse the issues at

 hand—exactly as the Dondero Parties intend. 3

         2.       As set forth below, the Dondero Parties include the Letters in their Appendix but

 make just one passing, frivolous argument based on them in support of their Supplemental Motion.

 That is not an accident. The Dondero Parties’ transparent goal is to slip the Letters into the record

 now so that they can cite to them later in their inevitable appeal to the District Court. The Court

 should reject such gamesmanship.

         3.       The Letters are self-serving narratives written by two Lawyers who represent

 certain of the Dondero Parties. The Letters are focused on alleged wrongdoing by the then-Debtor,

 Mr. Seery, and certain third parties and have little (if anything) to do with the Dondero Parties’

 latest effort to remove Judge Jernigan from Highland’s Bankruptcy Case. Accordingly, the Letters

 should be stricken as “immaterial” and “irrelevant” under applicable law.

         4.       Even if the Letters were relevant (and they are not), they are rank hearsay under the

 rules of evidence and are inadmissible as such.

         5.       Even if the Letters were relevant, admissible hearsay (and they are not), their

 probative value is greatly outweighed by the prejudice to Highland that would result from their

 inclusion in the record. The Letters are “hit pieces” replete with material errors and grossly

 misleading and incomplete assertions. While Highland does not believe it appropriate to rebut the

 errors and assertions in the context of adjudicating the Supplemental Motion, it nevertheless

 requested to take the Lawyers’ depositions after the Dondero Parties refused to withdraw the

 Letters; not surprisingly, the Dondero Parties ignored the request.


 3
   The demonstrably false Letters serve no apparent purpose other than as a coordinated attempt to damage the
 reputations of Highland, its managers and professionals, and others. Highland and the parties ensnared in Mr.
 Dondero’s relentless quest to “burn the house down,” including the making of the irresponsible allegations set forth
 in the Letters, reserve all rights, including the right to address these matters in due course.


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          6.       The Letters should be stricken because (i) they are irrelevant; (ii) they are hearsay;

 and (iii) any probative value is greatly outweighed by the prejudice Highland will face by their

 inclusion in the appellate record. Alternatively, if the Court is considering including the Letters in

 the record, Highland respectfully requests that the Court order the Lawyers to appear for deposition

 so that their out-of-court statements can be tested before the Letters are actually admitted into

 evidence, thereby mitigating the prejudice to Highland. 4

                                     I.       RELEVANT BACKGROUND

     A. The Dondero Parties File the Recusal Motion

          7.       On March 18, 2021, the Dondero Parties filed their motion seeking to recuse this

 Court pursuant to 28 U.S.C. § 455 [Docket Nos. 2060, 2061, 2062] (the “Recusal Motion”). The

 Recusal Motion alleged, among other things, that (a) this Court was biased against Mr. Dondero

 and the other Movants and (b) this Court’s bias had been evident since before this case was

 transferred to this Court in December 2019. On March 22, 2021, this Court entered its order

 denying the Recusal Motion [Docket No. 2083] (the “Recusal Order”), finding, among other

 things, that the Dondero Parties failed to show bias and that the Recusal Motion was untimely.

     B. The Appeal of the Recusal Order

          8.       The Dondero Parties appealed the Recusal Order to the U.S. District Court for the

 Northern District of Texas (the “District Court”). See James Dondero, et al. v. Honorable Stacey

 G.C. Jernigan, et al., Case No. 3:21-cv-00879-K (N.D. Tex.). On June 10, 2021, the District Court

 granted Highland’s motion to intervene. [D. Ct. Docket No. 10]. 5 After the parties submitted their


 4
   As stated in Highland’s Objection to Motion for Final Appealable Order and Supplement to Motion to Recuse
 Pursuant to 28 U.S.C. § 455 and Brief in Support (the “Objection”) being filed concurrently herewith, nothing in the
 Supplemental Motion, including the Letters, changes the fact that the Recusal Order is a non-appealable interlocutory
 order and thus not subject to appeal at this time.
 5
   “D. Ct. Docket No.” refers to the docket maintained by the District Court in James Dondero, et al. v. Honorable
 Stacey G.C. Jernigan, et al., Case No. 3:21-cv-00879-K (N.D. Tex.).


                                                          4
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 appellate briefs, the District Court, sua sponte, issued an order on December 10, 2021 [D. Ct.

 Docket No. 28] (the “December Order”) directing supplemental briefing on the District Court’s

 jurisdiction. Accordingly, the parties subsequently filed supplemental briefing. [See D. Ct. Docket

 Nos. 29 and 31].

     C. The District Court Denies the Dondero Parties’ Appeal of the Recusal Order

         9.       On February 9, 2022, the District Court entered its Memorandum Opinion and

 Order [D. Ct. Docket No. 39] (the “Binding February Order”). In the Binding February Order,

 the District Court denied the Dondero Parties’ appeal on the ground that the Recusal Order was a

 non-appealable interlocutory order and that the District Court therefore lacked jurisdiction to hear

 the appeal.

     D. The Dondero Parties File the Supplemental Motion and Appendix

         10.      On July 20, 2022, the Dondero Parties filed the Supplemental Motion in this Court

 seeking to, inter alia, introduce new “evidence” into the appellate record to be reviewed by the

 District Court on appeal. See Supplemental Motion ¶ 8. This new “evidence” includes, in pertinent

 part, three letters (collectively, the “Letters”) sent by two attorneys—Douglas Draper and Davor

 Rukavina (together, the “Lawyers”)—who represent certain of the Dondero Parties to the Office

 of General Counsel, Executive Office for U.S. Trustee, in November 2021 and May 2022,

 respectively. See Appendix 2842-3044, Exhibits 35, 36, 37.

         11.      The Letters, totaling roughly 200 pages, baselessly allege a litany of wrongdoing

 by the Debtor, its Court-appointed CEO and CRO, James P. Seery, Jr. (“Mr. Seery”), and others.

 Tellingly, the Dondero Parties make nothing but a passing, frivolous reference to the Letters in a

 footnote to their Supplemental Motion.




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     E. The Parties Meet and Confer but Are Unable to Reach an Agreement; the Dondero
        Parties Subsequently Ignore Highland’s Request for Depositions

         12.      On July 26, 2022, Highland’s counsel wrote to Michael Lang (“Mr. Lang”), the

 Dondero Parties’ counsel, in connection with the recusal proceeding and demanded that the

 Dondero Parties withdraw the Letters from their Appendix on the grounds that the Letters are

 hearsay and contain substantial and material errors and omissions. Morris Dec. 6 Exhibit 1 at 4-5.

         13.      Shortly thereafter, counsel conferred telephonically. During the call, Highland’s

 counsel explained that the Letters were hearsay and that Highland should not have the burden of

 rebutting and correcting a litany of errors and omissions on a recusal motion, but that if the

 Dondero Parties refused to withdraw the Letters, Highland would seek to depose the Lawyers. In

 response, Mr. Lang explained that the Dondero Parties did not intend to offer the Letters to prove

 the truth of the matters asserted, but only to establish that the Letters were actually sent,

 purportedly (and ironically) in accordance with the Court’s guidance. To resolve the issue,

 Highland’s counsel offered to stipulate that the Letters were sent if the Dondero Parties agreed to

 withdraw them from the evidentiary record. Morris Dec. ¶ 3.

         14.      After Mr. Lang rejected Highland’s offer of a stipulation, Highland sought the

 depositions of the Lawyers, offering to take them on August 11 or 12 and limit each to four hours.

 The Dondero Parties ignored Highland’s request for the depositions. Morris Dec. Exhibit 1 at 1.

                                             II.      ARGUMENT

         A. The Letters Are Irrelevant under Applicable Law

         15.      The Letters are irrelevant to the Supplemental Motion and should be stricken from

 the record under Rule 12 and the Federal Rules of Evidence.


 6
  Refers to the Declaration of John A. Morris in Support of Highland Capital Management, L.P.’s Motion to Strike
 Letters Attached to Appendix in Support of Motion for Final Appealable Order and Supplement to Motion to Recuse
 Pursuant to 28 U.S.C. § 455 and Brief in Support, filed concurrently herewith.


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           16.    The Dondero Parties seek to disqualify Judge Jernigan from overseeing Highland’s

 Bankruptcy Case. Under federal law, a judge shall be disqualified where her “impartiality might

 reasonably be questioned” or where there is “personal or bias or prejudice.” 28 U.S.C. § 455(a),

 (b)(1).

           17.    The Dondero Parties seek to introduce the Letters into evidence, purportedly in

 support of the Supplemental Motion. While the Letters contain substantial, unsubstantiated

 allegations of wrongdoing on the part of the Debtor, Mr. Seery, and certain third parties, they are

 irrelevant to whether the Bankruptcy Court’s own opinions or beliefs, comments, actions, or

 conduct constitute a deep-seated favoritism or antagonism that would make fair judgment

 impossible. See Andrade v. Chojnacki, 338 F.3d 448, 455 (5th Cir. 2003); Liteky v. United States,

 510 U.S. 540, 555 (1994).

           18.    Indeed, the Letters’ irrelevance is reflected in the Dondero Parties’ own pleading,

 which makes only a passing reference to the Letters in a footnote. See Supplemental Motion at 5-

 6, n.26 (the Dondero Parties implausibly contend that the “lack of transparency pervading the

 HCMLP bankruptcy proceedings” was evidenced by a snippet of colloquy at the February 3, 2021

 confirmation hearing and “prompted” the Lawyers to write the Letters many months later). The

 Dondero Parties make no other argument that the Letters are evidence of this Court’s alleged bias.

           19.    Rule 12 provides that “[t]he court may strike from a pleading an insufficient defense

 or any redundant, immaterial, impertinent, or scandalous matter.” FED. R. CIV. P. 12(f). The

 decision to grant a motion to strike is within the court’s discretion. S.E.C. v. Cuban, 798 F. Supp.

 2d 783, 787 (N.D. Tex. 2011). The Letters should be stricken from the Appendix filed in support

 of the Supplemental Motion because they are immaterial and impertinent to the issues at hand.

 The Letters are advocacy pieces containing baseless allegations of wrongdoing by the Debtor, Mr.



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 Seery, and others and do not concern any fact of consequence in determining the Supplemental

 Motion. They are, therefore, irrelevant and inadmissible under Rule 12 and the Federal Rules of

 Evidence. See FED. R. EVID. 401, 402.

          B. The Letters Constitute Inadmissible Hearsay under Fed. R. Evid. 802

          20.      Even if the Letters were relevant—and they are not—they should be stricken from

 the record because they constitute inadmissible hearsay, an issue beyond any credible dispute.

          21.      Under Federal Rule of Evidence 801(c)(1–2), hearsay is an out-of-court statement

 offered to prove the truth of the matters asserted. “Statement” means a person’s oral or written

 assertion, and “declarant” means the individual who made the statement. FED. R. EVID. 801(a),

 (b)).

          22.      Hearsay is inadmissible unless a statute or rule provides otherwise. FED. R. EVID.

 802. The Letters plainly constitute inadmissible hearsay because they are the Lawyers’ out-of-

 court statements offered to prove the truth of the matters asserted therein and no statute or rule

 provides otherwise.

          23.      Any contention by the Dondero Parties that they are not offering the Letters to

 prove the truth of the matters asserted should be rejected. As discussed supra, the Dondero Parties

 refused to withdraw the Letters in exchange for a simple stipulation stating that the Letters were

 sent, the modest point Mr. Lang claimed he was trying to establish. 7 Moreover, if the Letters are

 not being offered for this truth of the matters in this proceeding, the Court should question whether

 they were offered for the truth of the matters asserted when the Lawyers filed them with the Office




 7
   If the Dondero Parties insist that they are not offering the Letters to prove the truth of the matters asserted therein,
 then they should explicitly identify the limited purpose of introducing the Letters into the record because they rejected
 Highland’s offer to stipulate to the fact that the Letters were sent and caused the filing of this Motion.


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 of the United States Trustee, because seeking different treatment for the Letters depending on the

 audience reeks of gamesmanship.

         24.        Given the frivolous argument advanced by the Dondero Parties in reliance on the

 Letters, 8 the Court should see the Dondero Parties’ inclusion of the Letters for what it is: an

 obvious attempt to have the District Court review inadmissible evidence—the Letters—as part of

 the appellate record. The Letters have no place in the appellate record, and the Dondero Parties’

 attempt to include them is entirely improper.

         C. Any Probative Value of the Letters Is Outweighed by the Risk of Prejudice and
            Confusion

         25.      Even if the Court finds the Letters are (a) relevant, and (b) admissible hearsay, the

 Letters should be stricken from the record under Federal Rule of Evidence 403 because their

 probative value is substantially outweighed by the danger of confusion and unfair prejudice. See

 FED. R. EVID. 403 (providing that “[t]he court may exclude relevant evidence if its probative value

 is substantially outweighed by a danger of one or more of the following: unfair prejudice,

 confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

 cumulative evidence”).

         26.      There is a substantial risk of unfair prejudice if the Letters are included in the

 record. The Letters are a one-sided, purposefully skewed, and factually inaccurate portrayal of

 certain events that Highland vigorously disputes. Unless the Court is prepared to engage in a mini-

 trial over the substance and accuracy of the Letters, Highland will be substantially prejudiced by

 the inclusion in the record of counsel’s arguments masquerading as facts.




 8
  See Supplemental Motion at 5-6, n.26 (suggesting that the “lack of transparency pervading the HCMLP bankruptcy”
 was evident on February 3, 2021, and somehow “prompted” the Lawyers to send the Letters nine (9) and fifteen (15)
 months later, respectively).


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          27.      There is a substantial risk of confusion if the Letters are included in the record. The

  evidence in the Supplemental Motion should only address the Court’s conduct. Yet the Letters

  address alleged wrongdoing by the then-Debtor, Mr. Seery, and others. The Court should limit

  the evidence to facts concerning its own conduct, not the conduct of others, so that there is no

  confusion about the relevant issues at hand.

          D. Alternatively, the Lawyers Should Be Compelled to Testify in Order to Mitigate
             the Prejudice to Highland

          28.      If, for whatever reason, the Court is willing to consider admitting the Letters into

  the record, it should (a) reserve judgment for the time being, (b) order the Lawyers to appear for

  deposition so that their allegations in the Letters can be tested and the prejudice to Highland

  mitigated, and (c) accept the transcripts of the Lawyers’ deposition into evidence if it decides to

  admit the Letters into evidence.

                                             CONCLUSION

          29.      For the foregoing reasons, Highland respectfully requests that this Court (a) strike

  the Letters from the Dondero Parties’ Appendix, or (b) alternatively, direct the Lawyers to appear

  for depositions concerning the substance of their Letters, and (c) grant Highland such other relief

  as the Court deems just and proper.

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   Dated: August 15, 2022            PACHULSKI STANG ZIEHL & JONES LLP

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                                     -and-

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                              CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies that, between July 26 and August 5, 2022, Highland’s
  counsel corresponded with the Dondero Parties’ counsel regarding the relief requested in the
  foregoing Motion. Based on the email exchange between Highland’s counsel and the Dondero
  Parties’ counsel, the relief requested in the Motion is OPPOSED by the Dondero Parties.

                                                    /s/ Zachery Z. Annable
                                                       Zachery Z. Annable




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                                  EXHIBIT A
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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                      )
      In re:                                                          )   Chapter 11
                                                                      )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            )   Case No. 19-34054-sgj11
                                                                      )
                                         Reorganized Debtor.          )
                                                                      )

  ORDER GRANTING HIGHLAND CAPITAL MANAGEMENT, L.P.’S MOTION TO (A)
   STRIKE LETTERS ATTACHED TO APPENDIX IN SUPPORT OF THE DONDERO
    PARTIES’ SUPPLEMENTAL RECUSAL MOTION [DOCKET NO. 3406], OR, (B)
         ALTERNATIVELY, TO COMPEL THE LAWYERS’ DEPOSITIONS

               Having considered (a) Highland Capital Management, L.P.’s Motion to (a) Strike Letters

  Attached to Appendix in Support of the Dondero Parties’ Supplemental Recusal Motion [Docket

  No. 3406], or, (b) Alternatively, to Compel the Lawyers’ Depositions [Docket No. __] (the

  “Motion”) 2 filed by Highland Capital Management L.P. (“Highland”), the reorganized debtor in



  1
    The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
  service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
  2
      Capitalized terms not defined herein shall take on the meanings ascribed to them in the Motion.
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  the above-captioned chapter 11 case (the “Bankruptcy Case”); (b) the Declaration of John A.

  Morris in Support of Highland Capital Management, L.P.’s Motion to (a) Strike Letters Attached

  to Appendix in Support of the Dondero Parties’ Supplemental Recusal Motion [Docket No. 3406],

  or, (b) Alternatively, to Compel the Lawyers’ Depositions [Docket No. __] (the “Morris

  Declaration”); (c) the exhibit attached to the Morris Declaration; and (d) all prior proceedings

  relating to this matter; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§

  157 and 1334; and this Court having found that venue of this proceeding and the Motion in this

  District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

  Highland’s notice of the Motion and opportunity for a hearing on the Motion were appropriate

  under the circumstances and that no other notice need be provided; and this Court having

  determined that the legal and factual bases set forth in the Motion establish good cause for the

  relief granted herein; and upon all of the proceedings had before this Court; and after due

  deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

  this Motion, it is HEREBY ORDERED THAT:

         1. The Motion is GRANTED as set forth herein.

         2. The Letters are hereby STRICKEN, and the Dondero Parties are directed to refile their

  Appendix in support of the Supplemental Motion without the Letters.

         3. The Court shall retain exclusive jurisdiction with respect to all matters arising from or

  relating to the implementation, interpretation, and enforcement of this Order.

                                         ###End of Order###




                                                   2
